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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE: DEPUY ORTHOPAEDICS,                              )
INC., PINNACLE HIP IMPLANT                              )      MDL Docket No. 3:11-MD-2244-K
PRODUCT LIABILITY LITIGATION                            )
                                                        )
                                                        )      Honorable Ed Kinkeade
This Document Relates To:                               )
ALL CASES                                               )

             SETTLING PLAINTIFFS’ RESPONSE AND OBJECTION TO
               THE AMENDED PRELIMINARY HOLDBACK ORDER

        In compliance with the Court’s Amended Preliminary Holdback Order (ECF Doc.

924), the undersigned law firms present this Response and Objection on behalf of plaintiffs

who have entered into confidential settlement agreements with Defendants (“Settling

Plaintiffs”). The Settling Plaintiffs reserve the right, with the Court’s guidance and

permission, to submit additional briefing and evidence at a later time. The Settling Plaintiffs

recognize that the work of the Plaintiffs Executive Committee, for the common benefit of

all Plaintiffs, should be rewarded; however, the proposed common benefit holdback is not in

line with historical precedents for the type of work performed in similar MDLs, including in

In Re: Depuy Orthopaedics, Inc., Pinnacle Hip Implant Product Liability Litigation. As such, for the

reasons stated herein, Settling Plaintiffs’ respectfully submit this response and objection to

the Court’s upward adjustment of the common benefit holdback percentage. 1



1There has been extensive motion practice and briefing in this litigation regarding the issue of common benefit
holdback. See Preliminary Holdback Order (ECF Doc. No. 889), Plaintiff’s Executive Committee’s (“PEC”) Motion to
Modify the Preliminary Holdback Order and for an Assessment on Settling Cases along with Supporting Brief (ECF
Doc. No. 913), Defendant’s Response to the PEC’s Motion to Modify the Preliminary Holdback Order and for an
Assessment on Settling Cases (ECF Doc. No. 915), and PEC’s Reply to Defendant’s Response to the PEC’s Motion to
Modify the Preliminary Holdback Order and for an Assessment on Settling Cases (Doc. 918). The factual and

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I.       Argument in Support of Settling Plaintiffs’ Response and Objection to the
         Amended Preliminary Holdback Order

         The PEC’s request to dramatically increase the holdback percentage attempts to

jeopardize the private agreements reached by the Settling Plaintiffs.

         In light of counsel’s duty to assist the Court in the arduous case administration of an

MDL, the Settling Plaintiffs bring this response and opposition to the Court’s Amended

Holdback Order and respectfully argue that a twenty-five percent holdback is an

unreasonable departure from MDL holdback precedent, in similar cases, and the increase in

the holdback percentage is unfair and prejudicial to the Settling Plaintiffs.

         A.       The Twenty-Five Percent Holdback is an Unreasonable Departure
                  from MDL Holdback Precedent.

         First and foremost, a common benefit hold back of twenty-five percent is

unprecedented and incomparable to other MDL holdback valuations. See In re Actos

(Pioglitazone) Prods. Liab. Litig., 274 F.Supp.3d 485 (W.D. La. 2017) (8.6% common benefit

fee award was reasonable, where a full global resolution was reached in less than 4 years); In

re Visa Check/ Mastermoney Antitrust Litig., 297 F. Supp. 2d 503 (E.D.N.Y. 2003) (awarding

6.5% of common benefit fund); In re Avandia Marketing Sales Practices and Prods Liab. Litig,

2006 WL 6923367 (E.D. Pa. 2012) (6.25% award on “super-mega-fund” settlement reached

in three years); In re WorldCom, Inc. Sec. Litig., 388 F. Supp. 2d 319 (S.D.N.Y. 2005) (allowing

5.5% award); In re AOL Time Warner, Inc. Sec. & ERISA Litig., MDL 1500, 2006 WL

3057232 (S.D.N.Y. Oct. 25, 2006) (5.9% award on $2.65 billion fund); In re Sulzer Hip

Prosthesis & Knee Prosthesis Liab. Litig., 268 F. Supp. 2d 907 (N.D. Ohio 2003) (4.8% award on

procedural background has been addressed in the aforementioned motions, and thus, the Settling Plaintiffs need not
recite it here.

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 $1.045 billion fund); In re Gadolinium Based Contrast Agents Prods. Liab. Litig., 2009 WL

 10703918 (N.D. Oh. Feb. 20, 2009) (establishing holdback of 6%); In re Diet Drugs

 (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., 553 F.Supp.2d 442 (E.D. Pa.

 2008) (noting “range of awards” in multi-billion dollar cases was 4.8% to 15%); see also Alba

 Conte & Herbert B. Newberg, Newberg on Class Actions § 14:9 (4th ed. 2002) (“Most [MDL]

 courts have assessed common benefit fees at about a 4–6% level, generally 4% for a fee and

 2% for costs.”); Paul D. Rheingold, Litigating Mass Tort Cases § 7:35 (2010) (“[P]ercentages

 awarded for common funds in recent MDLS ... were in the 4–6% range.”) (citation omitted).

        Beyond the fact that typical percentages in MDLs remain in the 4-6% range, the

 amended preliminary holdback of twenty-five percent significantly exceeds the Common

 Benefit in all other major hip litigations; in fact, even the preliminary holdback of 10% in

 August 2018 exceeded the Common Benefit holdbacks in other major hip litigations.

 Examples from other major hip litigations are outlined below:

MDL #         Court                          Product                  Common         Common Benefit
                                                                      Benefit        Fees and Costs
                                                                      %
MDL 2197      Northern District of           DePuy ASR                6%             5% attorney fees
              Ohio                                                                   1% costs
MDL 2329      Northern District of           Wright Conserve          7%             3.5% attorney fees
              Georgia                                                                3.5% costs
MDL 2158      US District of New             Zimmer Durom             4%             2% attorney fees
              Jersey                                                                 2% costs
MDL 2391      Northern District of           Biomet M2A               6%             5% attorney fees
              Indiana                                                                1% costs
MDL 2441      US District of Minnesota       Stryker                  4%             3% attorney fees
                                             Rejuvenate/ABGII                        1% costs
MDL-2775      US District of Maryland        BHR Resurfacing          7%             5% attorney fees
                                                                                     2% costs




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       Accordingly, this Court’s amended preliminary holdback of twenty-five percent is

contrary to well-established law. A preliminary holdback of 25% is not reasonable on its face

when the common benefit percentages of all other major hip litigations have ranged from 4-

7%.

       Moreover, the more accepted practice in MDL favors reducing, as opposed to

increasing, preliminary holdback percentages for common fund contributions. See In re

Genetically Modified Rice Litig., 2010 WL 716190 (E.D. Mo. Feb. 24, 2010) (reducing hold back

percentage by one percent); In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods.

Liab. Litig., 553 F.Supp.2d 442 (E.D. Pa. 2008) (awarding less than the total fund created by

assessment by reducing federal assessments by 3% and state assessments by 2%). Original

“conservative” holdback percentages, are more likely to be reduced, not increased.

       B.      The Twenty-Five Percent Holdback Is Unfair to the Settling Plaintiffs.

       One of the overriding justifications behind the common benefit doctrine is the

principle of equity. In re Vioxx Prods. Liab. Litig., 760 F.Supp.2 640, 647 (E.D. La. 2010).

Accordingly, MDL courts should evaluate the fairness to both counsel and plaintiffs in

determining the appropriate assessment for common benefit costs. See In re Guidant Corp.

Implantable Defibrillators Prods. Liab. Litig., 2008 WL 682174, at *19 (D. Minn. Mar. 7, 2008)

(emphasis added). The primary purpose of MDL consolidation is to promote efficiency and

reduce costs amongst counsel, and thus, it necessarily follows that plaintiffs should also reap

the same benefit of lower fees and efficiency. See In re DePuy Orthopaedics, Inc. Pinnacle Hip

Implant Prods. Liab. Litig., 2016 WL 10719395, at *2 (N.D. Tex. Jan 8, 2016) (citations

omitted). Further, the Fifth Circuit has emphasized that the MDL court has the


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responsibility to undertake exacting review to ensure that the award of fees and costs are

reasonable and consistent with the governing law. In re High Sulfer Content Gasoline Products

Liability Litigation, 517 F. 3d 228 (5th Cir. 2008).

       As discussed supra, the Court’s Amended Holdback Order increases the common

benefit holdback by fifteen percent. Yet, the only change that has occurred in this litigation

between the time of the Court’s Preliminary Holdback Order and the Amended Preliminary

Holdback Order is the Court’s receipt of notice that Defendants and select plaintiffs’

attorneys had engaged in confidential inventory settlements. Notably, since the issuance of

the Preliminary Holdback Order, no case within this MDL has proceeded to trial, been

argued on appeal, or decided on appeal. Thus, there has been no substantial change in costs

since August of 2018. Nevertheless, the Amended Holdback Order seeks to more than

double the amount of plaintiffs’ costs to be held back. This increase is unfair to the Settling

Plaintiffs, especially when there has been no significant change in the litigation over the past

four months. See In re San Juan Dupont Plaza Hotel Fire Litig., 111 F.3d 220, 233 (1st Cir. 1997)

(“Thus, as the ultimate payors[,] the individual plaintiffs…have enough at stake to warrant

reasonable efforts at ensuring that adequate documentation and cost-monitoring procedures

also make cost-benefit sense.”). In essence, the Amended Holdback Order conveys to all

plaintiffs, in both current and future litigations, that settling, in and of itself, brings with it

the possibility of negatively affecting the plaintiff’s portion of recovery. Such precedent seeks

to deter settlement and undermines the equitable intent of the common benefit doctrine.




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II.    Conclusion

       For the reasons set forth herein, Plaintiffs respectfully respond and object to the

Court’s upward adjustment of the common benefit holdback percentage.

       Further, the Settling Plaintiffs’ adopt and incorporate arguments made by the DePuy

and Johnson & Johnson Defendants, as well as other objectors in opposition to the

Amended Holdback.

Dated: December 17, 2018                             Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that on December 17, 2018, I electronically filed the foregoing

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